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Revised Form D—For cases assigned to Judge Rakoff                         Effective September 10, 2010

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------- x
                                    :
                Idalia Varcarcel,   :                      [PROPOSED] CIVIL CASE MANAGEMENT
                Plaintiff,          :                                      PLAN
                                    :                               (JUDGE RAKOFF)
                -v-                 :
                                    :                                      21cv7821 (JSR)
                Ahold U.S.A., Inc., :
                Defendant.          x

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                         This Court requires that this case shall be ready for
                                               trial on
                             _______3/28/2022________________________.

        Pursuant to the Court’s Notice of Court Conference (Dkt. 5) dated October 14, 2021 and Fed. R. Civ.
P. 26(f), the parties met and conferred on October 27, 2021 and jointly propose the below Case Management
Plan. This proposed case management plan supersedes the Plaintiff’s proposed case management plan filed
on October 21 (Dkt. 7).

       After consultation with counsel for the parties, the following Case Management Plan is adopted.
This plan is also a scheduling order pursuant to Rules 16 and 26(f) of the Federal Rules of Civil
Procedure.

A.     Defendant’s motion to dismiss the complaint must be filed by 11/11/2021. Plaintiff’s opposition must
       be filed by 11/29/2021. Defendant’s reply must be filed by 12/6/2021. Oral argument will be held on
       a date set by the court.

B.     The case is to be tried to a jury.

C.     Joinder of additional parties must be accomplished by 12/28/2021 ______ .

D.     Amended pleadings may be filed without leave of Court until 12/2/2021_.

E.     Initial disclosures required by Fed. R. Civ. P. 26(a) must be served by 11/15/2021.

F.     Discovery (in addition to the disclosures required by Fed. R. Civ. P. 26(a)):

       1.     Documents. First request for production of documents, if any, must be served by
              11/22/2021. Further document requests may be served as required, but no document request
              may be served later than 30 days prior to the date of the close of discovery as set forth in
              item 6 below.

       2.     Interrogatories. Interrogatories pursuant to Rule 33.3(a) of the Local Civil Rules of the
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            Southern District of New York must be served by 11/22/2021. No other interrogatories
            are permitted except upon prior express permission of Judge Rakoff. No Rule 33.3(a)
            interrogatories need be served with respect to disclosures automatically required by Fed. R.
            Civ. P. 26(a).

     3.     Experts. Every party-proponent of a claim (including any counterclaim, cross-claim, or
            third-party claim) that intends to offer expert testimony in respect of such claim must make
            the disclosures required by Fed. R. Civ. P. 26(a)(2) by 12/28/2021. Every party-opponent
            of such claim that intends to offer expert testimony in opposition to such claim must make
            the disclosures required by Fed. R. Civ. P. 26(a)(2) by 1/18/2022_. No expert testimony
            (whether designated as “rebuttal” or otherwise) will be permitted by other experts or
            beyond the scope of the opinions covered by the aforesaid disclosures except upon prior
            express permission of the Court, application for which must be made no later than 10
            days after the date specified in the immediately preceding sentence. All experts may be
            deposed, but such depositions must occur within the time limit for all depositions set forth
            below.

     4.     Depositions. All depositions (including any expert depositions, see item 3 above) must be
            completed by 2/4/2022. Unless counsel agree otherwise or the Court so orders,
            depositions shall not commence until all parties have completed the initial disclosures
            required by Fed. R. Civ. P. 26(a)(1) or until four weeks from the date of this Order,
            whichever is earlier. Depositions shall proceed concurrently, with no party having
            priority, and no deposition shall extend beyond one business day without prior leave of the
            Court.

     5.     Requests to Admit. Requests to Admit, if any, must be served by 1/10/2022 [insert date
            that is no later than 30 days prior to date of close of discovery as set forth in item 6
            below].

     6.     All discovery is to be completed by 2/11/2022. Interim deadlines for items 1–5 above
            may be extended by the parties on consent without application to the Court, provided the
            parties are certain they can still meet the discovery completion date set forth in this
            paragraph. The discovery completion date may be adjourned only upon a showing to the
            Court of extraordinary circumstances, and may not be extended on consent.

G.   Post-discovery summary judgment motions in the form prescribed by the Court’s Individual
     Rules of Practice may be brought on without further consultation with the Court provided that a
     Notice of any such motion, in the form specified in the Court’s Individual Rules of Practice, is filed
     no later than one week following the close-of-discovery date (item D-6 above) and provided
     that the moving papers are served by ____2/18/2022________________, answering papers by
     3/8/2022 ___________________________________________ , and reply papers by
     3/18/2022_________________ [the last of these days being no later than six weeks following the
     close of discovery]. Each party must file its respective papers with the Clerk of the Court on the
     same date that such papers are served. Additionally, on the same date that any papers are served
     and filed, counsel filing and serving the papers must arrange to deliver courtesy non-electronic
     hard copies to the Courthouse for delivery to Chambers.

H.   A final pre-trial conference, as well as oral argument on any post-discovery summary judgment
     motions, shall be held on _____________ [date to be inserted by the Court], at which time the
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      Court shall set a firm trial date. The timing and other requirements for the Joint Pretrial Order
      and/or otherpre-trial submissions shall be governed by the Court’s Individual Rules of Practice.

I.    All motions and applications shall be governed by Judge Rakoff’s Individual Rules of Practice.
      Counsel shall promptly familiarize themselves with all of the Court’s Individual Rules, as well
      as with the Local Rules for the United States District Court for the Southern District of New
      York.


             SO ORDERED.
                                                            _____________________________________
                                                                       JED S. RAKOFF
                                                                           U.S.D.J.
DATED:     New York, New York
           ___________________________



Dated: October 27, 2021

                                           s/ Spencer Sheehan
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